Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 1 of 13 PageID #: 5




                           Exhibit A
                                                                           i/.L,
         Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 2 of 13 PageID #: 6
                                                                                            :2/lf/11
         STATE OF RHODE ISLAND AND                                   PROVIDENCE PLANTATIONS



                                          SUPERIOR COURT
                                                 SUMMONS

                                                    Civil Action File Number
                                                    PC-2019-0162
Plaintiff                                           Attorney for the Plaintiff or the Plaintiff
Mayra Martinez Vargas                               Thomas A Madden
    V.                                              Address of the Plaintiff's Attorney or the Plaintiff
Defendant                                           129 DORRANCE STREET
David Riccio                                        PROVIDENCE RI 02903

Licht Judicial Complex                              Address of the Defendant
Providence/Bristol County                           No Known Address
250 Benefit Street
Providence RI 02903
(401) 222-3250

TO THE DEFENDANT, United States Government:

    The above-named Plaintiff has brought an action against you in said Superior Court in the county
indicated above. You are hereby summoned and required to serve upon the Plaintiffs attorney, ,:vhose
address is listed above, an answer to the complaint which is here,vith served upon you within tv,renty (20)
days after service of this Summons upon you, exclusive of the day of service.

   If you fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint. Your answer must also be filed with the court.

    As provided in Rule 13(a) of the Superior Court Rules of Civil Procedure, unless the relief demanded in
the complaint is for damage arising out of your ownership, maintenance, operation, or control of a motor
vehicle, or unless othenvise provided in Rule I3(a), your answer must state as a counterclaim any related
claim which you may have against the Plaintift~ or you \1,,1ilJ thereafter be baned from making such claim in
any other action.

This Sununons was generated on 1/9/2019.                 /s/ Henry Kinch
                                                         Clerk


                               Witness the seal/watermark of the Superior Cami



                                                                    A True Copy Attest
                                                                AG.a z•. i eti@taia-Esposl~o
                                                                    Constable ~ <o C) l,\J




SC-CMS-1 (revised July 2014)
         Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 3 of 13 PageID #: 7
                                                              '-
           STATE OF RHODE ISLAND AND                                      PROVfDENCE PLANTATIONS



                                              SUPERIOR COURT
Plaintiff                                                                    Civil Action File Number
Mayra Maiiinez Vargas                                                        PC-2019-0162
    V.
Defendant
David Riccio

                                               PROOF OF SERVICE

   I hereby certify that on the date below I served a copy of this Summons, complaint, Language Assistance
Notice, and all other required documents received herewith upon the Defendant, United States Government, by
delivering or leaving said papers in the following manner:

   D With the Defendant personally.

   D At the Defendant's dwe1ling house or usual place of abode with a person of suitable age and discretion
         then residing therein.
         Name of person of suitable age and discretion
                                                         -----------------------
         Address of dv,re11ing house or usual place of a b o d e - - - - - - - - - - - - - - - - - - - -

         Age - - - - -
         Relationship to the Defendant
                                         -----------------------------
   D With an agent authorized by appointment or by law to receive service of process.
     Name of authorized agent ______________________________
         If the agent is one designated by statute to receive service, further notice as required by statute was given
         as noted below.


   D \:Vith a guardian or conservator of the Defendant.
         Name of person and designation ____________________________

   D By delivering said papers to the attorney general or an assistant attorney general if serving the state.

   D Upon a public coq)oration, body, or authority by delivering said papers to any officer, director, or
         manager.
         Name of person and designation - - - - - - - - - - - - - - - - - - - - - - - - - - -


                                                      Page 1 of2




SC-C.MS-1 (revised July 2014)
        Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 4 of 13 PageID #: 8


       ST ATE OF RHODE ISLAND AND                                     PROVIDENCE PLANTATIONS



                                            SUPERIOR COURT
   Upon a private corporation, domestic or foreign:
    D By delivering said papers to an officer or a managing or general agent.
      Name of person and designation
    D By leaving said papers at the office of the corporation with a person employed therein.
       Name of person and designation
    D By delive1ing said papers to an agent authorized by appointment or by law to receive service of process.
      Name of authorized agent
      If the agent is one designated by statute to receive service, further notice as required by statute \Vas given
      as noted below.

   D I was unable to make service after the following reasonable attempts:



SERVICE DATE:                I       I           SERVICE FEE$ I
                  Month Day      Year
Signature of SHERIFF or DEPUTY SHERIFF or CONSTABLE

SIGNATURE OF PERSON OTHER THAN A SHERIFF or DEPUTY SHERIFF or CONSTABLE MUST BE
NOTARIZED.

Signature

State of
County of

   On this             day of                      . 20_ _ . before me. the undersigned notary public. personally
appeared                                                                    D personally known to the notary
or D proved       to the notary through satisfactory evidence of identification. which was
                                                       , to be the person ,vl10 signed above in my presence.
and who swore or affirmed to the notary that the contents of the document are truthful to the best of his or her
knowledge.
                                                   Notary Public:
                                                   My commission expires:
                                                   Notary identification number:
                                                 Page 2 of2




SC-CMS-1 (revised July 2014)
       Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 5 of 13 PageID #: 9




SC-CMS-I (revised July 2014)
I in Provide)'lce/Bristol County Superior Court
ni~ed: f/9/2019 11Case
                   :43 AM   1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/191 PageH,L1
                                                                                    6 of 13 PageID #: 10
!lope: 1867124
ewer: Lynn G.                                                                                   ;J-/4/t'}

                STATE OF RHODE ISLAND                                                 SUPERIOR COURT
                PROVIDENCE, SC.

                MAYRA MARTINEZ VARGAS and
                LISMARIE MARTINEZ VAR GAS

                vs.                                                                   C. A. No.:   pc \0i-Q\ ~
                DAVID RICCIO individually and as an and employee
                and/or agent of MJJ ENTERPRISE and/or
                UNITED STATES GOVERNMENT;
                MJJ ENTERPRISE; and
                UNITED ST ATES GOVERNMENT


                                                           COMPLAINT


                      1. Plaintiff MAYRA VARGAS MARTINEZ is a resident of the City of Central Falls,
                         County of Providence, State of Rhode Island.

                      2. Plaintiff LIS MARIE MARTINEZ VARGAS is a resident of the City of Central Falls,
                            County of Providence, State of Rhode Island.

                      3. Upon infonnation and belief, Defendant DAVID RICCIO is a resident of the Town of
                         Little Compton, County ofNewpmi, State of Rhode Island.

                      4. Upon information and belief, Defendant MJJ ENTERPRISE is an entity duly
                         authorized to conduct business in the State of Rhode Island.

                      5. At all times relevant, Defendant DAVID RICCIO was authorized to operate a motor
                         vehicle ovmed by Defendant MJJ ENTERPRISE.

                      6. On or about January 15, 2016, Plaintiff MAYRA VARGAS MARTINEZ ,vas
                         operating a motor vehicle with due care on Pine Street in the City of Central Falls,
                         State of Rhode Island.

                      7. On or about January 15, 2016, Plaintiff LISMARIE MARTINEZ VARGAS was a
                         passenger in a motor vehicle being operated with due care by Plaintiff MAYRA
                         MARTINEZ VAR GAS on Pine Street in the City of Central Falls, State of Rhode
                         Island.

                      8. On or about January 15, 2016, Defendant DAVID RICCIO ,vas negligently operating a
                         motor vehicle o,vned by and with the consent of Defendant M.TJ ENTERPRISE on Pine
                         Street in the City of Central Falls, State of Rhode Island and struck Plaintiffs' vehicle.

JS ATTOR.t~EY'S OFFICE-RI
   4 FEB 2019 PM2:12
•d in Providence/Bristol County Superior Court
              Case 1:19-cv-00097-JJM-PAS
>mitted: 1/9/201911:43Arvt                           Document 1-1 Filed 02/26/19 Page 7 of 13 PageID #: 11
,elope: 1867124                                ··~
tiewer: Lynn G.




                                                               COUNTI

                  9. Plaintiffs hereby incorporate by reference Paragraphs 1-8 as though set forth fully
                     herein.

                  10. Upon infonnation and belief and at all times relevant, Defendant DAYID RICCO was
                      operating the aforementioned motor vehicle outside of the scope of his employment
                      ,vith MJJ ENTERPRISE and/or UNITED STA TES GOVERNMENT.

                  11. As such, Defendant DAYID RICCO is individually and personally liable for his
                      aforementioned negligent operation of the aforementioned motor vehicle.

                 WHEREFORE, Plaintiffs demand judgment against Defendants in a sum sufficient to
             give this Comi jurisdiction, plus interest and costs.

                                                              COUNT II

                  12. Plaintiffs hereby inc01vorate by reference Paragraphs 1-8 as though set forth fully
                      herein.

                  13. Upon information and belief and at all times relevant, Defendant DAVID RICCO was
                      operating the aforementioned motor vehicle with the consent of vehicle owner
                      Defendant MJJ ENTERPRISE.

                  14. As such, Defendant MJJ ENTERPRISE is liable for Defendant DAVID RICCO's
                      aforementioned negligent operation of said motor vehicle.

                VVHEREFORE, Plaintiffs demand judgment against Defendants in a sum sufficient to
             invoke the jurisdiction of this Court, plus interest and costs.

                                                              COUNT III

                  15. Plaintiffs hereby incorporate by reference Paragraphs 1-8 as though set forth fully
                      herein.

                  16. Upon information and belief and at all times relevant, Defendant DAYID RICCO ,vas
                      operating the aforementioned motor vehicle within the scope of his employment with
                      Defendant MJJ ENTERPRISE and/or Defendant UNITED STATES GOVERNMENT.

                  17. As such, Defendant M.TJ ENTERPRISE and/or Defendant UNITED STATES
                      GOVERNIVlENT are liable for Defendant DAVID RICCO's aforementioned negligent
                      operation of said motor vehicle.

                      ,vHEREFORE, Plaintiffs demand judgment against Defendants in a sum sufficient to
             invoke the jurisdiction of this Court, plus interest and costs.
,d in Providi.nce/Bnstol County Superior Court
)mttted: i /9/2019 Case
                   11 :43 AM1:19-cv-00097-JJM-PAS   Document 1-1 Filed 02/26/19 Page 8 of 13 PageID #: 12
,elope: 1867124
tiewer: Lynn G.



                                                         COUNT IV

                 18. Plaintiffs hereby incorporate by reference the preceding Paragraphs as though set forth
                     fully herein.

                 19. Defendants, pursuant to R.I.G.L. §9-1-49, have a duty to provide Plaintiffs with the
                     c01Tect corporate name(s) and registered agent(s) of any and all individuals or entities
                     that are proper parties to this action, within twenty days of service of the within
                     Complaint.

                 WHEREFORE, Plaintiffs demand judgment against Defendants in a sum sufficient to
             invoke the jurisdiction of this Court, plus interest and costs.

                                                                    Plaintiffs,
                                                                    By Their Attorney,

                                                                    /s/ Thomas A. Madden
                                                                    Thomas A. Madden #7880
                                                                    Orabona Law Offices, P.C.
                                                                    129 001,-ance Street
                                                                    Providence, RI 02903
                                                                    Tel. (401) 272-0800
                                                                    Fax. (40 I) 272-0799
                                                                    trnadden;a l 1rah,111alaw .L'lllll
Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 9 of 13 PageID #: 13
        Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 10 of 13 PageID #: 14
                See this notice in Cambodian, Spanish. and P01i11guese on the attached pages. Espanol: Vease
                esta notificaci6n en camboyano, espaflol y pmiugues en las paginas adjuntas. Portugues: Leia
                          esta notificac;:ao em cambojano, espanhol e pu1tugues nas paginas em anexo.


                                                                        NOTICE
                                   You have a case in the Rhode Island state court system.

                                     You have the rigbt to an interpreter at no cost to you.
                          Rhode Island Supreme Court Executive Order 2012-05 states that when a Limited-
English Proficient {LEP) person appears in comi. the Rhode Island Judiciary will provide a free authorized
interpreter for the defendant plaintiff. witness, victim. parent of a juvenile, or someone ·with a significant
interest in the comi proceeding. This interpreting service is provided at no cost to the parties and in all types of
cases, both civil and criminal. Comi inteqJreters work in all the comihouses of the Rhode Island state court
system.

To schedule an interpreter for your day in court, you have the follmving options:

1.        Call the Office of Court Interpreters at (401) 222-8710, or

2.        Send an email message to interP.reterfeedback@courts.ri.gov, or

3.        Visit the interpreters' office to schedule an interpreter:
                                   The Office of Court Interpreters
                                   Licht Judicial Complex
                                   Fourth Floor, Room 401
                                   250 Benefit Street
                                   Providence, RI 02903

          \Vhen requesting an interpreter, please provide the following information:

                 The name and number of your case
                 The language you are requesting
                 The date and time of your headng
                 The location of your hearing
                 Your name and a telephone number where we can reach you or your lawyer

For more info1111ation in Portuguese, Russian, and Spanish, including a listing of comi fonns that are available
                               in Spanish. please visit our website on the Internet:
                      https: //wwv1'. courts. ri. 2:ov !Interpreters/en e:l ish versi 0111Pa 2:esl defaul t.aspx.
     To request a translation of this notice into any other language, please call the Office of Comi lnte1vreters at
             (40 I) 222-8710. It ,vould be help fol to have an English speaker ·with you v,'lJCn you call.
                   The Rhode Island Judiciary is committed to making the courts accessible to all.
                                                  The Office of Court I111erpreters
                                                  Licht Judicial Complex Fourth
                                                         Floor Room 401
                                                         250 Benefit Street
                                                        Providence. RI 0:2003
                                                                                                                       9/15
           Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 11 of 13 PageID #: 15
r=============~-----"-========-=-=,,,,-,,,,-==-,,,,-=-,,,,-==-"'-'------=====-=-,,,,-==-,,,,,=====



                                                                                        mnnHnffi 2t.rr.wiw1JrlnbUt.r&12ri
                                                                                                       n ct
                                                                                                                          n.nnut2rw Rhode Island 1
                                                                                                                                           c:t        cP 1                d
                                                                                                                                            I




                                                            Brn1ui1uil1UN!HlflfillfHHUIS
                                                               U    n    I          U
                                                                                         Rhode Island (Rhode Island Supreme Court Executive Order) rn.rn 2012-05
                                                            m n iubth nrl rn rum,rn1f
                                                                                1¥1
                                                                                      i:l ruf:fl 813 IM: Bti fctc::t nm ftflfib mruf:fl
                                                                                                                                C\/
                                                                                                                                        s Rr..n ii                            (LEP) ul:n   m fl 1,Hsinb
                                                                                                                                                                                      'tll -....,'if 9 I
                                                                                                                                                                                                        rHlfl!ill fiI ru·lfilrfa
                                                            Rhode        Island              ifo ctn nnrnunf1ufo
                                                                                                         c::tlJ
                                                                                                                 rum SHS nTlfili:tl turififlfirl"Ht.!Uf:fltmb 1m Ii'
                                                                                                                                            1:::::J               C:V             I
                                                                                                                                                                                            1Bmm ll             ftfl niU   ct fllb liffi:
                                                                                                                                                                                                                                    U
 f:flfilfin1m wr-rtHi ct s 11smmf:fl
                           ~        c::t
                                         iifi:l rum Ms.;, Wlw wm rni nb        9 ct1n'.hrrnmMrnr1
                                                                                                1
                                                                                                 s         tMn nuunriurs:
                                                                                                                 -..LU"
                                                                                                                               Ufiimr tinn:rci
                                                                                                                                          v
                                                                                                                                               21th wri nilnrd
                                                                                                                                                             w
                                                                                                                                                               ft.!Uf:fltrnm~
                                                                                                                                                                         u
                                                                                                                                                                              sb
 IITTU"i:HJl\urfill [SU Mb
                        n  lrlbii:lU!liM
                                ~tJ
                                                SbUn!.ll...t ll rtn
                                                                 :a
                                                                    j HfiUfi[iUfib fi MfilHOfilrtITTiibUFiUfi rt.!lfilf lllbHNIUnJfU'1n FiOJl !ilf [81 i:l Rhode Island'1
                                                                             Uc;    1 c::t  .::,      c::t     I                    L.:i ~1                                                                Q
  d    H                                .!             J~            •            1                             I               c,               I
 twUJtUn bmrutinn ijfiUfitUJ lu1J:llmg gruft.lrmm uu nr1ru1 nt[n 1nn n~nm s tlt[t! N~um bt[filtf                                                        %

 1.               llfhltltHifilSfilftiJlLUW'HfiUfiiuuuumnnnmrmmru:tru3
                  ll    a                   c::t        I
                                                                       (401) 222-8710 u
                                                                                      ...a.


 2.               1ilr'.Hihurnims
                   ~ I
                                             interpreterfeedback@courts.ri.goY u
                                                   -                                                                    -       ~


 3.               1ITTn1 sITTitm rutut[nUntLutff Y:rJ1Lfilbmru11ruijjnUfiiUJ f
                                                                  The Office of Court Interpreters
                                                                  Licht Judicial Complex
                                                                  Fourth Floor, Room 401
                                                                  250 Benefit Street
                                                                  Providence, RI 02903




                           o     mruu'f1y1r sb1tfit11ui81rrnmn1trlllfi!;tri
                           0      f/ffibiS1uflllfi1ifUWICUlri!-1fi
                                                               c;




                       nlU!:flU[lfll:fl sufsn Y:fehfil li.fH111/I wifiA ru '-'f fij!iJ Sb rH liJfl m H:iITTwU
                                                                                               t.J'-.,u
                                                                                                                                    m1/'uc~ tUt.TUllfi n.n filiri:l n.ra-, IJtl"Jl'ilft.fl 11-l fufl mtm:
                                                                                                                                    t..,                I                                    i..J'-....,
                                                                                                                                                                                                               ft.lHtHU
                                                                                                                                                                                                                 "   P


                                                                                             rnirn s rm.n ~ rirrt.ub 2rsi rn'.rHscr
                                                                                             1


                                                                                                                               I~
                                                                                                                                    n'.h l'i                 ;
                                                                                                                                I


                                             https://v.,r,v,v.courts.ri.gov/Intcrpretcrs/englishversion/Pages/default.aspx.
      rS HUb rfJwITTrunrimruuFict
            C:.        I       n  Ll
                                     s Bri.hb ts: tllrn li.f1 n.m1:1w1ritil
                                               V                 ~           'J n.r1:1111 hlnHnITTiu.n ruwHnun1uuuum i;n.n mrm1:11 tu: 1ru s (401) 222-87101
                                                                            1,;'li;                  U              U       U       GI                  ct                    I

                             ti tl1 rnrmm Glti rt.!L~il:fl Sljfi Su.n Wffl ftf!Hb r~liJD1lzWIMfi!;f li !ITT In ruf i:l ru IMfi!;[fi ~I f.\JQi;l fU '1

                                                            firt.!lfili
                                                             I                        n-.., 10
                                                                        Rhode Island IUCh    d
                                                                                               @UfiI rt.!lfilf;fl u 1uuum n'.im s ft.!1!:flU!:!$
                                                                                                                                      Li        I
                                                                                                                                                  fi.iiUFIUffl
                                                                                                                                                     ;J    c::t
                                                                                                                                                                j




                                                                                                     mill.fl ru lli~iiUii!!YLUffi ~ n.fl ffll
                                                                                                         Licht Judicial Complex
                                                                                                         Fourth Floor Room 401
                                                                                                            250 Benefit Street
                                                                                                          Providence. RI 02903                                                                                                 9/15
      Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 12 of 13 PageID #: 16

                   See this notice in Cambodian, Spanish. and Po1tuguese on the attached pages.
      Camboyano: SAMPLE: [Vease esta notificaci6n en camboyano, espafiol y pmiugues en las paginas acljuntas.]
            Espanol: V ease esta notificaci6n en camboyano. espanol ) porn1gues en las paginas adjuntas.
            Portugues: Leia esta notificac;:iio em cambojano. espanhol e portugues nas paginas em anexo.


                                                                 NOTIFICA(:AO
                                V. Ex. a tern um processo em cu:rso no sistema jud.kiar:io do
                                                  Estado de Rhode Island,

                                V. Ex.a tern direito aos servi9os gratuitos de um inte:rprete.
A Ordem Executiva 2012-05 do Supremo Tribunal de Rhode Island preve que quando uma pessoa com conhecimentos
limitados da lingua inglesa (Limited-English Prq(icienf) (LEP) comparece em tribunal, a Administrac;:ao Judiciaria de
Rhode Island disponibiliza-lhe gratuitamente os servic;:os de um inteivrete autorizado a um reu. autor, testemunha, vitima,
pai ou miie de um menor ou alguem com interesse significativo no processo judicial. 0 servic;:o de interprete e prestado
gratuitamente as partes e em todos os tipos de processes, sejam eles civis ou penais. Os interpretes do tribunal trabalham
em todos os tribunais do sistema judiciario do Estado de Rhode Island.

Para agendar os servic;os de um interprete para o seu dia no tribunal, tern as seguintes opc;:oes:

1.      Telefonar para o Gabinete de Interpretes Judiciais atraves don." (401) 222-8710, ou

2.      Enviar uma mensagem de correio eletr6nico para interpreterfeedback1ci>courts.ri.!!OY, ou

3.      Deslocar-se ao gabinete de interpretes para agendar os servic;:os de um interprete:

                                   Gabinete de Interpretes Judiciais
                                   Complexo Judicial Licht
                                   Quarto Piso, Sala 401
                                   250 Benefit Street
                                   Providence, RI 02903

        Quando solicitar os servic;:os de um i.nterprete deve fornecer os seguintes dados:

            "    0 nome e numero do seu processo
            o    O idioma que solicita
            "    A data e horn da sua audiencia
            <>   0 local da sua audiencia
            G    O seu nome e um niimero de telefone para o podermos contactar a si ou ao seu advogado

Para obter mais infonnac;:oes em portugues. russo e espanhol. incluindo uma lista dos fornmlarios judiciais disponiveis em
                                       espanhol, visite o nosso website na internet:
                         h 1tns :/ 1www .courts.ri. !.!ov/Inl e1J1reters ten[!] ishvcr:::i on 1Pa 2:es,'defou It .asux.
Para solicitar uma traduc;:ao desta notificac;:ao para qualquer outro idioma. telefone para o Gabinete de Interpretes Judiciais
  atraves do 11im1ero (40 I J 222-8710. Recomenda-se que esteja acompanhado por alguem que fale ingles quando fizer a
                                                            chamada.
        A Administrac;:ao Judicii1ia de Rhode Island esta empenhada em tomar os nibunais acessiveis para todos.
                                                    Gabinete de Interpretes Judiciais
                                                        Complexo Judicial Licht
                                                          Quarto Piso. Sala -1-0 J
                                                            250 Benefit Street
                                                          ProYidence, RI 02903
                                                                                                                           9/15
     Case 1:19-cv-00097-JJM-PAS Document 1-1 Filed 02/26/19 Page 13 of 13 PageID #: 17

                           See this notice in Cambodian, Spanish, and Portuguese on the attached pages.
                    Espanol: Vease esta notificaci6n en camboyano, espaiiol y portugues en las paginas adjuntas.
                    Portugues: Leia esta notifica9ao cm cambo_iano. espanhol e portugues nas paginas em anexo.


                                                                          AVISO
                                      Usted tiene un caso en el sistema judicial de Rhode Island.

                                 Usted tiene el derecho a tener un interp,rete sin costo para usted.
                              La Orden Ejecutiva 2012-05 de! Tribunal Supremo de Rhode Island dicta que cuando una
                              persona que tiene un dominio limitado de! ingles (LEP) comparece ante la corte, el Sistema
                              Judicial de Rhode Island le proveera un inrerprete autorizado gratis sea el
acusado/demandado, demandante. testigo, victima, padre de un mcnor de edad alguien quc tenga con un interes
importante en el proceso de la corte. Este servicio de int.erpretacion se le proveeni sin costo alguno a los participantes en
toda clase de caso, sea civil o penal.
Los interpretes judiciales trabajan en todos Jos tribunales del Sistema Judicial de Rhode Island.

Para solicitar un interprete para su comparecencia en el tribunal, usted tiene las siguientes opciones:

    1. Llamar a la Oficina de lntcrpretes en el tribunal al 401-222-8710 ;

    2. Mandar un correo electr6nico a interpreterfeedback(ci:courts.ri.e:ov~ o

    3.   Presentarse a la Oficina de lnterpretes para solicitar un interprete:

                                  The Office of Court Interpreters
                                  Licht Judicial Complex
                                  Cuarto Piso, Oficina 401 A-B
                                  250 Benefit Street
                                  Providence, RI 02903

               AI solicitar un interprete, por favor provea Ia siguiente informaci6n:

         o   El nombre y el numero de su caso

         o   El idioma que solicita
         o   La fecha y hora de su audiencia

         o   D6nde va a tomar Ingar su audiencia

         0   Su nombre r numero de telefono por el cual nos podamos poner en contacto con usted o con su
             abogado.


Para obtener mas infonnacion en portugues. rnso o espanol, incluyendo una lista de formularios de la corte que cstan
disponibles en espanol, visite nuestra pagina de internet: •
                         lntps ://w,vw .courts.ri. 2:oy/ln te1vretcrslenul ishversionlP a2:es/default.as12x
Para solicitar la traducci6n de este aviso en cualquier otro idioma. por favor llame a la oficina de interpretes al (401) 222-
              8710. Ayudaria si usted puede cstar en compania de una persona que babla ingles cuando llame.
  El sis tern a juridico de RJ1ode Island sc compromete a proporcionar a todas las personas mej or acceso a los tribunales.
                                                 Tll1: Office of Court Interpreters
                                                     Licht Judicial Complex                                        ~
                                                     Fourth Floor Room 401
                                                       25(1 Benefit Street
                                                      Providence. RI 02903

!.!a======--==--
